             Case 3:10-md-02143-RS Document 3112 Filed 09/15/22 Page 1 of 3


SPECTRUM
SETTLEMENT RECOVERY


September 13, 2022
BY COURIER
Honorable Richard Seeborg
United States District Judge
United States District Court
for the Northern District of California
San Francisco Courthouse
450 Golden Gate Avenue
San Francisco, CA 94102

                In re: Optical Disk Drive Products Antitrust Litigation,
                Indirect Purchaser Actions
                No. 3:10-md-2143 RS (JCS) (N.D. Cal.)
Dear Judge Seeborg:
Attached please find an email sent by me today on behalf of Spectrum Settlement Recovery today to
Shana E. Scarlett at Hagens Berman regarding the planned second distribution in the above
captioned matter.
Spectrum respectfully requests that the Court order IPPs make a pro rata distribution consistent
with the strictures of Rule 23 as well as this court's prior Revised Plan of Distribution and Schedule.


Respectfully,


Howard L. Yellen
Copy to: All Counsel




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         Case 3:10-md-02143-RS Document 3112 Filed 09/15/22 Page 2 of 3




Via Email
Shana E. Scarlett
Haggen Berman

9/13/2022

Ms. Scarlett:

I am writing on behalf of Cairn Servicing LLC d/b/a Spectrum Settlement Recovery. LLC
("Spectrum") regarding the anticipated second distribution in In re: Optical Disk Drive Products
Antitrust Litigation, Indirect Purchasers Action ("ODD").

Spectrum and its predecessor entity have been in the business of filing claims in class actions
settlements on behalf of large companies since 2003, and represents a significant portion of the
ODD class, having filed claims for 152 class members comprising more than 4 million ODD
units.

Spectrum's understanding is that the Claims Administrator ("CA") is planning to distribute the
remaining settlement funds via a flat payment of$133.93 to all class members, rather than
apportion those funds on a pro-rata basis. Spectrum further understands that there is a pending
application for a temporary restraining order to prevent a distribution along these lines (TRO
Application, Dkt. No. 3108).

Financial Recovery Services ("FRS") has shared with Spectrum both a filing with Judge Seeborg
and an email they sent to you yesterday, September 12, 2022. Spectrum is in complete agreement
with FRS's position on this matter as it relates to the proposed distribution and supports the
imposition of a TRO if needed. A flat rate distribution would be unfair, inconsistent with Rule
23's requirement to be "fair, reasonable and adequate" and in conflict with the Courf s Revised
Plan of Distribution and Schedule.

While settlements should always strive to treat all class members equitably, we recognize that at
times when a common fund has been so depleted as to make an otherwise required pro
rata distribution impracticable, requiring a fixed payment or even cy pres distribution. This is not
such a situation.

The Net Settlement Fund in ODD exceeded $157 million. It appears that funds available for a
second distribution comprise approximately 20% of the first-round payment of$3.81 per ODD
unit; that means that the funds available for redistribution total more than $30 million in total,
which is slightly less than $.76 per unit.

A flat distribution of$133.93 per class member would receive unreasonably disproportionate
benefit. For example, the 390,999 class members who filed claims for 10 or fewer ODD units
and were received awards of$3.92 - $39.20 in the primary, properly pro-rata distribution (Status
Update Regarding Claims Distribution, Dkt. No 3072 at page 2). If, as suggested. a flat
secondary payment of$133.93 is made, these, and many other low-volume class members,
would receive a dramatic and unwarranted windfall at the direct expense of class members who
         Case 3:10-md-02143-RS Document 3112 Filed 09/15/22 Page 3 of 3




purchased large quantities of ODDs. It would be bizarre for a class member who received less
than $5 in the primary distribution to receive more than 26 times that as a "clean up·· payment.

Of direct concern to Spectrum is the fact that a flat payment would deprive our clients of nearly
$3 million as compared with a proper, pro-rata distribution.

Importantly, a pro-rata distribution would likely not be substantially burdensome or costly. The
CA maintains a database of approved claims and we have n0 doubt is capable of a simple
recalculation to provide each class member with an appropriate award. Spectrum recognizes that
making a second payment of under, for example, a dollar to many class members would be
uneconomic, but two alternatives that are substantially more equitable than a flat distribution
immediately come to mind.

    I. A much smaller minimum payment on the order of$5 - or such other amount deemed
       practical and appropriate - could be fixed. It is not at all uncommon for relatively small
       payments to class members in class action settlements. The balance of the available funds
       would be distributed proportionally to class members entitled to more than that amount.
       Since the settlement provides for various forms of electronic payment, much of those
       funds could be distributed economically.

    2. As has been done in many other cases, a "floor distribution" of some similar amount
       could be established, and the totality funds distributed to class members with claims
       reaching that value on a fully pro-rata basis. For example, the 390,999 class members
       who purchased 10 or fewer ODD units could be excluded from the secondary
       distribution, which would otherwise result in them receiving payments of less than $8.

       By way of example, the recent In re Dynamic Random Access Memory (DRAM)
       Antitrust Litigation (Case No. 02-md-01486) a a minimum payment of$ IO minimum
       payment was established, with the balance being distributed on a fuJly pro-rata basis.
       This is a common and conventional approach.

       This approach would dramatically reduce the total number of payments required while
       imposing a minimal burden on the low-volume class members and simultaneously being
       vastly more equitable to class members who represent the lion's share of approved claim
       value.

I respectfully request that the process of making a second distribution on a flat payment basis be
immediately paused, which would moot the need for a TRO, and would provide an opportunity
to collaboratively craft a second distribution schedule that is fair to all class members.

Thank you for your attention to this matter.


Howard Yellen

Spectrum Settlement Recovery
